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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

PAUL ALAN VELD,

Plaintiff,                                                      Case No. 1:16-cv-05219

        v.
                                                            Honorable Judge Amy J. St. Eve
ANSELMO LINDBERG OLIVER, LLC and
PNC BANK, NATIONAL ASSOCIATION,

Defendants.

                                   NOTICE OF SETTLEMENT

        PLEASE TAKE NOTICE that PAUL ALAN VELD (“Plaintiff”), hereby notifies the

Court that the Parties have settled all claims between them in this matter and are in the process of

completing the final closing documents and filing the dismissal. The Parties anticipate this

process to take no more than 60 days and request that the Court retain jurisdiction for any

matters related to completing and/or enforcing the settlement. The Parties propose to file a

stipulated dismissal with prejudice with 60 days of submission of this Notice of Settlement and

pray the Court to stay all proceedings until that time.



Respectfully submitted this 17th day of February, 2017.

                                                             Respectfully submitted,

                                                             s/ Mohammed Badwan
                                                             Mohammed Badwan
                                                             Sulaiman Law Group, Ltd.
                                                             900 Jorie Boulevard, Suite 150
                                                             Oak Brook, IL 60523
                                                             (630) 575-8181
                                                             mbadwan@sulaimanlaw.com
                                                             Attorney for Plaintiff



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                                  CERTIFICATE OF SERVICE

          I hereby certify that I today caused a copy of the foregoing document to be electronically

filed with the Clerk of Court using the CM/ECF system which will be sent to all attorneys of

record.


                                                              s/ Mohammed Badwan _____
                                                              Mohammed Badwan




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